           Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 1 of 8



                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA                        CRIMINAL NO. 2O.CR.

           v.                                    DATE FILED:

 JOSEPH RUBINO                                   VIOLATIONS:
                                                 18 U.S.C. $ 922(o) (unlawful possession and
                                                 transfer of a machinegun) (3 counts)
                                                 26 U.S.C $ 5861(e) (unlawful transfer of a
                                                 firearm) (3 counts)
                                                 Notice of forfeiture

                                          IND ICTMENT

                                          COUNT ONE

THE GRAND JURY CHARGES THAT:

                On or about April27,2019, in Wind Gap, Pennsylvania, in the Eastern District    of

Pennsylvania, defendant

                                        JOSEPH RUBINO

knowingly possessed and transferred   a machinegun, as defined   by Title 18, United States Code,

Section 921(a)(23),and Title 26, United States Code, Section 5845(b), that is, two machinegun

conversion devices designed and intended for use in converting a semiautomatic Glock pistol to

fire automatically.

                In violation of Title 18, United States Code, Section 922(o).
           Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 2 of 8



                                         COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:
               On or about April27,2019, in Wind Gap, Pennsylvania, in the Eastern District    of

Pennsylvania, defendant

                                      JOSEPH RUBINO

knowingly and unlawflrlly transferred a firearm, as defined by Title 26,United States Code,

Section 5845(a), that is, two machinegun conversion devices designed and intended for use in

converting a semiautomatic Glock pistol to fire automatically.

               In violation of Title 26,IJnitedStates Code, Sections 5861(e) and 5871.
            Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 3 of 8



                                       COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 19, 2019, in Oaks, Pennsylvania, in the Eastern District   of

Pennsylvania, defendant

                                       JOSEPH RUBINO

knowingly possessed and transferred   a machinegun, as defined   by Title 18, United States Code,

Section 921(a)(23), and Title 26,United States Code, Section 5845(b), that is, two machinegun

conversion devices designed and intended for use in converting a semiautomatic Glock pistol to

fire automatically.

               In violation of Title 18, United States Code, Section 922(o).
           Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 4 of 8




                                        COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:
              On or about May 19, 2019, in Oaks, Pennsylvania, in the Eastern District                   of

Pennsylvania, defendant

                                      JOSEPH RUBINO

knowingly and unlawfully transferred a firearm, as defined by Title 26,United States Code,

Section 5845(a), that is, two machinegun conversion devices designed and intended for use in

converting a semiautomatic Glock pistol to fire automatically.

               In violation of Title 26, tJnitedstates Code, Sections   5   36   1   (e) and 5 87   1.




                                                 4
            Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 5 of 8



                                         COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about July 2,2019, in West Chester, Pennsylvania, in the Eastern District   of

Pennsylvania, defendant

                                       JOSEPH RUBINO

knowingly transferred a machinegun, as defined by Title 18, United States Code, Section

921(a)(23), and Title 26,United States Code, Section 5845(b), that is, two machinegun

conversion devices designed and intended for use in converting a semiautomatic Glock pistol to

fire automatically.

               In violation of Title 18, United States Code, Section 922(o).
           Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 6 of 8



                                           COUNT SIX
THE GRAND JURY FURTHER CHARGES THAT:
               On or about Jluly 2,2019, in West Chester, Pennsylvania, in the Eastern District      of

Pennsylvania, defendant

                                       JOSEPH RUBINO

knowingly and unlawfully transferred a firearm, as defined by Title 26, United States Code,

Section 5845(a), that is, two machinegun conversion devices designed and intended for use in

converting a semiautomatic Glock pistol to fire automatically.

               In violation of Title 26, United States Code, Sections 5 86 I (e) and   5   87   1.




                                                 6
            Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 7 of 8




                                  NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

                  As a result of the violations of Title 18, United States Code, Section 922(o) and

Title26,United States Code, Section 5861(e),       set forth in this indictment, defendant

                                        JOSEPH RUBINO

shall forfeit to the United States of America all firearms and ammunition involved in the

commission of these offenses, including, but not limited to six (6) machinegun conversion

devices, each of which was designed and intended for use in converting a semiautomatic Glock

pistol to fire automatically.

                All pursuant to Title 28, United   States Code, Section 2461(c),   Title   18, United


States Code, Section 924(d), and Title 26 United States Code, Section 5872.

                                                                A TRUE BILL:




                                                                FOREPERSON




WILLIAM M. MCSIVAIN
UNITED STATES ATTORNEY
            Case 2:20-cr-00441-CDJ Document 1 Filed 12/01/20 Page 8 of 8




                                                        ah
                                                    t
                                                        A
                                                        i
                                                        I
                                                        C)
                                                    (f)
                                                    v
                                                     a! A
                                                     ioj
                                                     oo
                                                    '!tr9rr             h
                                                                        'o
                                                    =.iv
                                                    Ya
                            Q                       lvr
                                                        E
                                                        -X
                            &                                 -

              .E            IJJ
                            l=l
                                                    ..6tG0,)
                            a                        9i-
                                                     .q
                                                    .9        LY

          Ecr               l+r       m     ,aV-
                                                    t! e
          trol                        F     LE                               6l
    _6:El                   \J]
                            aa&             z
                                            i_i
                                                     i 6.:
                                                    .{i       EE   0)
                                                                             t-..1


    Fa->l (ts               IIJ>Fr,
                                            H-A!
    d,
    FrOHl            Xl     ti              Zi4)A                                    -\l
                                                                                     o
    a!';l
    v-o:l            -t     4
                            L'
                                      rrl   r\!L
                                            !J x tr-               ii                U
    e!.=l                   frn
                            ax              ;^-vO=;.
                                            !.-LV
    .6FI
    i ,
    Li
                      i-t
                     ril
                                            zi-      3 4."
                                                     gtuE
    76
               Avl
                            r!                       z                                     cd


    -a2                     F                           A-
                                                              =z        f
                                                                                           d


              .:\           z                       ttr
                                                    -7^


                                                     >i
                                                        -v
                                                     56)V
                                                                        o
    a                       rrl                     .56
                                                        -r^
                                                                        o.
    rc                                               lia
    3                       F                       !,'a                o
    E.l                                             6'q
    a                                               xq
                                                    dD
                                                                        tL

    r-l
                                                       v
    Fr                                              @! 61
o   zp                                              U
E                                                   a
                                                    IJ
                                                    €
                                                    :
